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             6
             7   Attorneys for Plaintiff Bitcoin Manipulation Abatement LLC

             8                                        UNITED STATES DISTRICT COURT
             9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
           10                                                     OAKLAND DIVISION
           11
           12
                 Bitcoin Manipulation Abatement LLC,                      Case No. 4:19-cv-07245-HSG
           13
           14                             Plaintiff,                      NOTICE OF VOLUNTARY
                                                                          DISMISSAL WITH PREJUDICE
           15                                                             PURSUANT TO FED. R. CIV. P.
                                                                          41(a)(1)(A)(i)
           16                     v.

           17
           18    FTX Trading LTD, Alameda Research LLC,
                 Alameda Research LTD (BVI), Samuel
           19    Bankman-Fried, Gary Wang, Andy Croghan,
                 Constance Wang, Darren Wong and Caroline
           20    Ellison,

           21
                                          Defendants.
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           23
           24
                 TO THE COURT AND ALL PARTIES APPEARING OF RECORD:
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           26
                        Notice is hereby given pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) that Plaintiff
           27
                 Bitcoin Manipulation Abatement LLC (“Plaintiff”) voluntarily dismisses the captioned action (the
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE     -1-   BMA LLC V. FTX TRADING LTD ET AL.   CASE NO. 4:19-CV-07245-HGS
                   Case 4:19-cv-07245-HSG Document 27 Filed 12/16/19 Page 2 of 2



             1
                 “Action”) with prejudice. Because this notice of dismissal is being filed with the Court before
             2
                 service by any of the Defendants of either an answer or a motion for summary judgment,
             3
                 Plaintiff’s dismissal of the Action is effective upon the filing of this notice.
             4
             5
                 Dated: December 16, 2019                                   Respectfully submitted,
             6
                                                                            By: /s/ Pavel I. Pogodin
             7                                                                     Pavel I. Pogodin
             8                                                              CONSENSUS LAW
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           13                                                               Attorneys for Plaintiff
           14                                                               Bitcoin Manipulation Abatement LLC

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CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE   -2-      BMA LLC V. FTX TRADING LTD ET AL.   CASE NO. 4:19-CV-07245-HGS
